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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK



IN RE:

APPLICATION OF OLGA KURBATOVA                Case No. ____________
FOR AN ORDER UNDER 28 U.S.C. §
1782 TO TAKE DISCOVERY FROM
LYXOR ASSET MANAGEMENT INC.
AND ELLIOT DANILOFF




 MEMORANDUM OF LAW IN SUPPORT OF OLGA KURBATOVA’S EX PARTE
       APPLICATION FOR AN ORDER UNDER 28 U.S.C. § 1782
                 TO TAKE DISCOVERY FROM
     LYXOR ASSET MANAGEMENT INC. AND ELLIOT DANILOFF
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         Applicant Olga Kurbatova (“Ms. Kurbatova” or the “Applicant”) respectfully petitions

this Court ex parte1 for an order pursuant to 28 U.S.C. § 1782 authorizing her to take discovery

from Lyxor Asset Management Inc., a corporation registered in New York, and Elliot Daniloff.

The requested relief is for the purpose of obtaining limited, but critical, discovery for use in

pending criminal and reasonably contemplated civil proceedings before Swiss courts.

                                    PRELIMINARY STATEMENT

         This application for discovery (the “Application”) stems from a massive criminal

scheme perpetrated by Patrice Lescaudron, a Credit Suisse bank employee responsible for

managing the assets of wealthy individuals. After engaging in improper and unauthorized

trading in the accounts of his clients, Mr. Lescaudron tried to cover up the resulting losses by

transferring money from some client accounts to the accounts of other clients that had sustained

losses. Along the way, he also diverted amounts for his own profit, enriching himself through

various schemes in which he had his clients invest. Earlier this year, a Swiss court sentenced

Mr. Lescaudron to five years’ imprisonment for his crimes.

         The Applicant, Ms. Kurbatova, is one of Mr. Lescaudron’s victims, having suffered

approximately US $35 million in losses. As is relevant to this Application, the investments in

her Credit Suisse account included, among other things, (i) direct holdings in multiple series

of the Hudson River Russia Fund, Ltd. (the “Hudson Fund”); and (ii) holdings in a product

structured by an asset manager, Lyxor Asset Management Inc. and its affiliates (“Lyxor”),

called Lyxor – [x3 Dynamic Leverage Fund] Certificate (the “Lyxor Product”).




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  “[I]t is neither uncommon nor improper for district courts to grant applications made pursuant to § 1782 ex parte.
The respondent’s due process rights are not violated because he can later challenge any discovery request by
moving to quash pursuant to Federal Rule of Civil Procedure 45(c)(3).” In re BNP Paribas Jersey Tr. Corp. Ltd.
for an Order Pursuant to 28 U.S.C. § 1782 to Conduct Discovery for Use in Foreign Proceedings, No. 18-MC-
00047 (PAC), 2018 WL 895675, at *2 (S.D.N.Y. Feb. 14, 2018) (quoting Gushlak v. Gushlak, 486 Fed.Appx.
215, 217 (2d Cir. 2002)).
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       In the wake of Mr. Lescauldron’s scheme, Ms. Kurbatova has learned through

investigation that: (1) the Lyxor Product, in actuality, also held interests in the Hudson Fund,

meaning that Ms. Kurbatova was heavily exposed to the risks associated with that investment

in a way that was not apparent from the face of account statements, which do not reveal what

the Lyxor Product is comprised of; (2) the Hudson Fund is an investment fund of Daniloff

Capital, an investment firm founded by Elliot Daniloff; and (3) Mr. Lescauldron apparently

made these substantial investments in the Hudson Fund after having performed very little, if

any, real due diligence on it.

        For the reasons set forth below, the Court should grant Ms. Kurbatova’s Application

under 28 U.S.C. § 1782 (“Section 1782”) seeking discovery from Lyxor and Mr. Daniloff

related to Mr. Lescaudron’s decision to invest in the Lyxor Product and the Hudson Fund for

Ms. Kurbatova’s account without Ms. Kurbatova’s permission.

       First, the Application meets the statutory requirements of Section 1782. Ms. Kurbatova

seeks discovery from Lyxor and Mr. Daniloff, and both are found in this district. The materials

sought are “for use” in pending and contemplated foreign proceedings, including criminal

proceedings and an investigation arising out of Mr. Lescaudron’s activities and contemplated

civil claims by Ms. Kurbatova against Mr. Lescaudron and Credit Suisse. Further, Ms.

Kurbatova is an “interested person” in these foreign proceedings, as she is a Plaintiff with the

right to submit evidence in the criminal proceedings (including on appeal) and will be the

claimant in the contemplated civil claims.

       Second, as explained below, the discretionary factors that this Court should consider in

determining whether to grant an application under the United States Supreme Court’s decision

in Intel Corp. v. Advanced Micro Devices, Inc. favor granting the Section 1782 application.

       Accordingly, and for the reasons discussed below, the Court should grant this

Application.


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                                FACTUAL BACKGROUND

    I.         Ms. Kurbatova’s Relationship with Credit Suisse and Mr. Lescaudron

          Ms. Kurbatova has an account at Credit Suisse called the DREAM account, which she

opened on April 26, 2005. (Kurbatova Decl. ¶ 11.) The DREAM account is, and always has

been, nondiscretionary, meaning that only she or her powers of attorney could authorize trades

in the account. (Kurbatova Decl. ¶ 11.)

          As the relationship manager for the DREAM account, Mr. Lescaudron made investment

recommendations to Ms. Kurbatova. (Kurbatova Decl. ¶¶ 12-13.) Neither Ms. Kurbatova nor

her staff have any finance experience, so she trusted Mr. Lescaudron’s advice and believed him

to be an expert acting under Credit Suisse’s supervision, consistent with Credit Suisse’s

policies, and with all investments having met Credit Suisse’s approval after due analysis by

Credit Suisse. (Kurbatova Decl. ¶¶ 13, 14.) Credit Suisse held Mr. Lescaudron out as acting

under its authority. (Kurbatova Decl. ¶ 14.)

    II.        The Misconduct

          In reality, Mr. Lescaudron was engaged in rampant misconduct. (See Kurbatova Decl.

¶¶ 15-31.) He made unauthorized investments on behalf of some of his clients, including Ms.

Kurbatova, that did poorly. (See Kurbatova Decl. ¶ 16; Cogan Decl. Ex. 4, at 2.) To hide those

loses, he then transferred the assets of another wealthy client into his victims’ accounts without

permission and made other unauthorized investments to hide the losses. (See Cogan Decl. Ex.

3, at 1, 3.)

          According to the press, Mr. Lescaudron “orchestrat[ed] a scheme that resulted in

damages of 143 million Swiss francs ([US] $152 million) as he diverted cash from client

accounts to cover bad trades in one of the biggest financial crimes in Swiss history.” (Cogan

Decl. Ex. 4, at 1.) He also diverted money from the scheme to himself. (Cogan Decl. Ex. 9, at




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1.) In the resulting criminal case against him in Swiss court, he received, among other penalties,

a sentence of five years in prison. (See Straub Decl. ¶ 21.)

          With regard to Ms. Kurbatova specifically, to perpetrate his scheme, Mr. Lescaudron

lied about the nature and quality of the investments, forged Ms. Kurbatova’s signature on

authorization forms, and made investments without her prior consent. (See Kurbatova Decl. ¶¶

15, 16, 18.)

   III.      The Lyxor Product and Hudson Fund

           The Lyxor Product and Hudson Fund were two of the improper investments Mr.

Lescaudron made in Ms. Kurbatova’s account. (See Kurbatova Decl. ¶ 19.) The Lyxor Product

consisted of notes representing interests in a Jersey Unit Trust (the “Fund”) that sought to make

leveraged investments in hedge funds. (Kurbatova Decl. ¶ 25.) The Lyxor Product is managed

by Lyxor, which is registered to do business in New York and has an office in Manhattan.

(Kurbatova Decl. ¶ 19; See Cogan Decl. Ex. 5, at 5, Ex. 6.) The hedge funds that the Fund

invested in included multiple series of the Hudson Fund. (Kurbatova Decl. ¶ 26.) The total

issuance of the Lyxor Product was $60 million, $22 million of which was held by clients of

Mr. Lescaudron. (Kurbatova Decl. ¶ 25.)

          The Hudson Fund is a hedge fund managed by Daniloff Capital, founded by Mr.

Daniloff and having its office in Manhattan. (Kurbatova Decl. ¶ 28; see Cogan Decl. Ex. 7, Ex.

8.) Mr. Lescaudron bought for Ms. Kurbatova’s account not just indirect interests in the Hudson

Fund (through the Lyxor Product, which in turn held interests in the Hudson Fund), but also

direct holdings in the Hudson Fund. (See Kurbatova Decl. ¶¶ 26, 27.) After the revelation of

Mr. Lescaudron’s scheme and the realization that Mr. Lescaudron had taken large direct and

indirect positions in the Hudson Fund, representatives of Ms. Kurbatova briefly spoke to Mr.

Daniloff about the Hudson Fund and Mr. Lescaudron’s involvement with it. (See Kurbatova

Decl. ¶¶ 27, 28.) Mr. Daniloff explained that Mr. Lescaudron had agreed to invest in the


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Hudson Fund after only a short conversation and without conducting any significant due

diligence. (Kurbatova Decl. ¶ 28.) Mr. Lescaudron also invested clients’ assets in other funds

that had an interest in the Hudson Fund, and stole client funds to invest further in the Hudson

Fund through entities Mr. Lescaudron created. (Kurbatova Decl. ¶ 29.)

         In 2008, Ms. Kurbatova instructed Mr. Lescaudron to sell the positions in the Lyxor

Product. (Kurbatova Decl. ¶ 30.) She now understands, however, that he simply transferred

funds from another customer’s account to hers to give the appearance that he had been able to

sell the product. (Kurbatova Decl. ¶ 30.)

   IV.      The Foreign Proceedings

         As noted above, Mr. Lescaudron has already been tried and found guilty of certain

crimes. (See Straub Decl. ¶ 21.) This judgment is currently under appeal by Mr. Lescaudron

as well as several plaintiffs, including Ms. Kurbatova. (Straub Decl. ¶ 22.) That, however, is

only one of many proceedings related to his misconduct. (See Straub Decl. ¶ 4.) Ms. Kurbatova

seeks discovery here in aid of the following proceedings:

            A. Pending Criminal Investigation Against Credit Suisse

         The prosecutor has opened a separate case to investigate the potential criminal liability

of Credit Suisse in relation to Mr. Lescaudron’s scheme. (Straub Decl. ¶ 6.) Ms. Kurbatova is

a plaintiff in this investigation, with the right to submit evidence for the prosecutor to consider

in determining whether to charge Credit Suisse. (Straub Decl. ¶ 6.)

            B. Pending Criminal Proceedings Against Mr. Lescaudron

         Ms. Kurbatova and other victims of Mr. Lescaudron filed criminal complaints against

him in Switzerland. (See Straub Decl. ¶¶ 11, 12.) Ms. Kurbatova’s complaint, dated August 4,

2016, alleged misappropriation, fraud, criminal mismanagement, and forgery of documents, as

well as any other crime the investigation could reveal. (Straub Decl. ¶ 11.) At least five other

victims of Mr. Lescaudron filed criminal complaints. (Straub Decl. ¶ 12.)


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       The prosecutor charged Mr. Lescaudron in Swiss criminal court with fraud, forgeries

of documents, and criminal mismanagement. (See Straub Decl. ¶ 14.) These charges, however,

did not cover the full extent of the scheme that Ms. Kurbatova alleged and omitted many

aspects of the scheme that some of the plaintiffs had asserted. (See Straub Decl. ¶ 15.)

       Ms. Kurbatova appealed the prosecutor’s decision not to include the full extent of the

alleged scheme by Mr. Lescaudron (the “First Appeal”). (See Straub Decl. ¶ 16.) While that

appeal was recently denied, she has further appealed the decision to the Swiss Federal Tribunal

and, if she wins before the Swiss Federal Tribunal, the underlying case will continue, and Ms.

Kurbatova may use evidence obtained from this 1782 Application in the continuation of that

case. (Straub Decl. ¶ 17.) If Ms. Kurbatova loses before the Swiss Federal Tribunal, the case

would be formally closed; however, she can seek to reopen the part of the case related to the

charges the prosecutor did not bring. (Straub Decl. ¶¶ 17, 18.) In any such attempt to reopen

the case, Ms. Kurbatova would also be entitled to submit evidence obtained from this 1782

Application to the Swiss prosecutor. (See Straub Decl. ¶18.) Thus, regardless of the outcome

of the First Appeal, Ms. Kurbatova can and will provide any evidence obtained from this

Application to the Swiss prosecutor. (See Kurbatova Decl. ¶ 10.)

        Meanwhile, Mr. Lescaudron proceeded to trial on the charges that the prosecutor did

bring. (Straub Decl. ¶ 21.) On February 9, 2018, the Swiss court found him guilty of certain

crimes against certain victims and not guilty of certain other crimes. (Straub Decl. ¶ 21.) Some

parties, including Mr. Lescaudron and Ms. Kurbatova, have appealed the verdict of the

criminal court (the “Second Appeal”), meaning there will be a second trial before a Swiss

criminal court of appeals on the same charges at the appellate level. (See Straub Decl. ¶ 22.)

In such an appellate trial (and in preparation of the same), Ms. Kurbatova will be entitled to

file new evidence. (See Straub Decl. ¶ 22.) Ms. Kurbatova, however, is under some time




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pressure to obtain and file this evidence, as the appellate trial will take place from January 21,

2019 to January 25, 2019. (See Straub Decl. ¶ 24.)

           C. Contemplated Civil Proceedings

       Ms. Kurbatova is also contemplating civil claims in Switzerland against Mr.

Lescaudron and Credit Suisse for breach of their obligations toward her in relation to the

scheme perpetrated on her to her detriment. (See Kurbatova Decl. ¶¶ 8, 10; Straub Decl. ¶¶ 25-

31.) For example, Credit Suisse may be liable to Ms. Kurbatova on the theory that the bank is

directly liable for Mr. Lescaudron’s misconduct. (See Straub Decl. ¶¶ 28, 29.) Under Swiss

law, civil claimants must identify and (with limited exceptions) submit the evidence they intend

to provide at the time of filing the claim. (Straub Decl. ¶ 27.)

       Ms. Kurbatova intends to file her civil claims against Mr. Lescaudron and Credit Suisse

as soon as possible after obtaining the necessary evidence, including from this Application, and

has retained Swiss counsel to represent her in these matters. (Kurbatova Decl. ¶¶ 9-10.)

                                          ARGUMENT

        To obtain discovery under Section 1782, an applicant must satisfy two sets of criteria.

First, the applicant must meet the requirements of the statute itself, which allows for discovery

by an “interested person” in “the district in which [the discovery target] resides or is found . . .

for use in a proceeding in a foreign or international tribunal.” 28 U.S.C. § 1782(a). Second, the

court, in its exercise of discretion and applying certain relevant factors, must find that granting

discovery would be appropriate. See Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S.

241, 264-65 (2004).

       The twin goals of Section 1782 are “providing efficient assistance to participants in

international litigation and encouraging foreign countries by example to provide similar

assistance to U.S. courts.” Intel, 542 U.S. at 252; see also Application of Malev Hungarian

Airlines, 964 F.2d 97, 100, 102 (2d Cir. 1992) (noting “twin aims” of statute in reversing district


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court’s denial of discovery under Section 1782). Indeed, “the statute has, over the years, been

given increasingly broad applicability.” Brandi-Dohrn v. IKB Deutsche Industriebank AG, 673

F.3d 76, 80 (2d Cir. 2012) (citations and quotations omitted).

         Because Ms. Kurbatova meets both of these sets of criteria, the Court should grant the

Application.

    I.      The Application Meets the Statutory Prerequisites for Relief Under Section
            1782.

         Title 28, United States Code, Section 1782 (“Section 1782”) authorizes discovery by

litigants or other “interested persons” in proceedings before foreign and international tribunals.

In pertinent parts, it states:

         The district court of the district in which a person resides or is found may
         order him to give his testimony or statement or to produce a document or
         other thing for use in a proceeding in a foreign or international tribunal ...
         The order may be made pursuant to a letter rogatory issued, or request made,
         by a foreign or international tribunal or upon the application of any
         interested person and may direct that the testimony or statement be given,
         or the document or other thing be produced, before a person appointed by
         the court.

28 U.S.C. § 1782(a). Thus,

         [A] district court is authorized to grant a § 1782 request where:
         (1) the person from whom discovery is sought resides (or is found) in the district of the
         district court to which the application is made,
         (2) the discovery is for use in a foreign proceeding before a foreign tribunal, and
         (3) the application is made by a foreign or international tribunal or any interested
         person.


Brandi-Dohrn, 673 F.3d at 80.

         The Application easily satisfies each of these three statutory requirements.

         First, Lyxor is registered to do business in New York, and based on a review of its

website, Lyxor Asset Management Inc. has its only office here. (See Cogan Decl. Ex. 5, at 5,

Ex. 6.) As for Mr. Daniloff, he works here. (See Cogan Decl. Ex. 7, Ex. 8.) Therefore, they are

both “found” here for purposes of Section 1782. See In re Ex Parte Application of Kleimar


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N.V., 220 F. Supp. 3d 517, 521 (S.D.N.Y. 2016) (holding that a Section 1782 target was found

in this district where, among other things, it “appears to conduct systematic and regular

business in the United States and New York”).

        Second, the evidence is “for use in a proceeding in a foreign . . . tribunal.” This “for

use” requirement imposes a de minimis burden on the applicant to show that the requested

discovery has some relevance to the foreign proceeding, one Ms. Kurbatova easily meets. See

In re Application Pursuant to 28 U.S.C. Section 1782 for an Order Permitting Christen Sveaas

to Take Discovery from Dominique Levy, L&M Galleries, 249 F.R.D. 96, 98, 107 (S.D.N.Y.

2008) (the standard for relevance is “broadly permissive”). Ms. Kurbatova has already

contended or will contend in the foreign proceedings that Mr. Lescaudron and Credit Suisse

are criminally and civilly liable for the losses she suffered from Mr. Lescaudron’s unauthorized

trading in her account, done with inadequate due diligence on the instruments he bought, and

Credit Suisse’s failure to supervise him, as well as its vicarious liability. (See Straub Decl. ¶¶

4, 6, 11, 14-17, 22, 26, 28-30.) The discovery this Application seeks speaks directly to Ms.

Kurbatova’s foreign claims.

        The communications among Credit Suisse, Mr. Lescaudron, Mr. Daniloff, and Lyxor

will show the extent, if any, of the diligence on the Lyxor Product or the Hudson Fund, as will

any documents concerning due diligence. Under Swiss law, Mr. Lescaudron and Credit Suisse

could be liable for losses tied to these investments if they recommended them, if they failed to

conduct adequate due diligence, or if they recommended the investments when they had a

conflict of interest. (Straub Decl. ¶ 26.)

        Towards this end, the materials sought—including regarding the formation of the Lyxor

Product—will also speak to whether the investments in the Lyxor Product and the Hudson

Fund were improper. Mr. Lescaudron appears to have wanted to buy large amounts of the

Hudson Fund and to have accomplished that aim through masking holdings in the Hudson Fund


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by having some of those holdings be indirectly owned through the Lyxor Product. (See

Kurbatova Decl. ¶¶ 25-27.) He also invested clients’ assets in other funds that held interests in

the Hudson Fund and stole client funds which he used to invest further in the Hudson Fund

through companies he created. (Kurbatova Decl. ¶ 29.) In fact, clients of Mr. Lescaudron held

more than a third of the Lyxor Product, which allowed Mr. Lescaudron to take outsized

positions in the Hudson Fund. (See Kurbatova Decl. ¶ 25.) Such undisclosed interests which

worked against his clients’ interests is impermissible under Swiss law, under which investment

advisors must act in the interests of their clients. (Straub Decl. ¶ 26.)

       Ms. Kurbatova will use the evidence in the pending criminal case against Mr.

Lescaudron in Swiss court, where, as a plaintiff, she has the right to submit evidence. (See

Straub Decl. ¶¶ 17, 18, 22.) In particular, as part of the First Appeal, if Ms. Kurbatova’s appeal

is successful, she will be entitled to submit evidence in the now-reopened underlying action,

and, if her appeal is rejected, she will be entitled to file new evidence with the Prosecutor’s

Office with a view to have the case reopened—she thus can and will submit additional

evidence, including evidence she obtained from this 1782 Application, regardless of the

outcome of the First Appeal. (See Straub Decl. ¶¶ 17, 18; Kurbatova Decl. ¶ 10.) In the Second

Appeal, as explained above, Ms. Kurbatova will be entitled to file new evidence until the end

of the appellate trial, which will take place in January 2019. (Straub Decl. ¶¶ 22, 24.)

       Further, Ms. Kurbatova will use the evidence in the criminal investigation the Swiss

prosecutor is undertaking into Credit Suisse for which Ms. Kurbatova is a plaintiff. (See Straub

Decl. ¶ 6.) The statute itself specifically includes “criminal investigations conducted before

formal accusation” within the kinds of foreign proceedings for which Section 1782 allows

discovery. See 28 U.S.C. § 1782(a); see also Intel, 542 U.S. at 258 (holding that proceedings

that have not “progressed beyond the investigative stage” can qualify for discovery under

Section 1782); In re Clerici, 481 F.3d at 1333 (11th Cir. 2007) (noting that evidence obtained


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through Section 1782 discovery can be used in criminal investigations conducted before formal

accusation). And as a plaintiff, Ms. Kurbatova is entitled to submit evidence for the prosecutor

to consider as part of the investigation. (See Straub Decl. ¶ 6.)

       Ms. Kurbatova will also use the evidence in the contemplated civil cases against Mr.

Lescaudron and Credit Suisse. Foreign proceedings that are “within reasonable contemplation”

can be the basis for a Section 1782 application where there are “reliable indications of the

likelihood that proceedings will be instituted within a reasonable time.” Application of

Consorcio Ecuatoriano de Telecomunicaciones S.A. v. JAS Forwarding (USA), Inc., 747 F.3d

1262, 1270 (11th Cir. 2014). Ms. Kurbatova has submitted a declaration stating that she will

commence proceedings against Mr. Lescaudron and Credit Suisse in Switzerland as soon as

she obtains evidence from this Application (and others) and that she needs the evidence before

filing her claim because, under Swiss law, she must submit all documentary evidence along

with her claim. (See Straub Decl. ¶ 27; Kurbatova Decl. ¶ 10); Application of Consorcio

Ecuatoriano, 747 F.3d at 1271 (holding that foreign proceedings were reasonably

contemplated where Section 1782 applicant had submitted declaration stating its intent to

commence proceedings in Ecuador and explained that “under Ecuadorian law, it must submit

its evidence with the pleading at the time it commences the civil action”). Moreover, Ms.

Kurbatova’s retention of Swiss counsel, criminal complaints, and investigation into the

scheme, as this Application sets out, further shows that a claim against Credit Suisse and Mr.

Lescaudron is reasonably contemplated. See Application of Consorcio Ecuatoriano, 747 F.3d

at 1271 (“In light of [the Section 1782 applicant’s] facially legitimate and detailed explanation

of its ongoing investigation, its intent to commence a civil action . . ., and the valid reasons for

[the applicant] to obtain the requested discovery under the instant section 1782 application

before commencing suit, we can discern no error in the district court’s determination that [the

applicant’s] foreign civil proceedings . . . were ‘within reasonable contemplation.’”).


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         Third, Ms. Kurbatova is an “interested person” within the meaning of the statute. An

interested person can be a litigant, but also a plaintiff in a foreign proceeding or anyone who

“possess[es] a reasonable interest in obtaining [judicial] assistance.” Intel, 542 U.S. at 256

(holding that a party that was the complainant in a European Commission investigation was an

“interested person” under Section 1782). Ms. Kurbatova is an interested person in each of the

foreign proceedings here. She is a plaintiff in the pending Swiss criminal case against Mr.

Lescaudron and the criminal investigation against Credit Suisse. (See Straub Decl. ¶¶ 6, 11.)

She will also be a litigant in the contemplated Swiss civil proceedings against Credit Suisse

and Mr. Lescaudron. (Straub Decl. ¶¶ 28, 30.)

   II.      The Discretionary Intel Factors Weigh in Favor of Granting Discovery Under
            Section 1782

         In deciding whether to exercise its discretion to permit the Section 1782 discovery, the

Court should consider the following factors: (1) whether “the person from whom discovery is

sought is a participant in the foreign proceeding;” (2) “the nature of the foreign tribunal, the

character of the proceedings underway abroad, and the receptivity of the foreign government

or the court or agency abroad to U.S. federal-court judicial assistance;” (3) whether the request

is “an attempt to circumvent foreign proof-gathering restrictions or other policies of a foreign

country or the United States;” and (4) whether the discovery is “unduly intrusive or

burdensome.” Intel, 542 U.S. at 264–65. Here, these factors support granting the Application.

         A. Whether the Discovery Target Is a Party to a Foreign Proceeding

         Under Intel, if the respondent is not a party in the foreign proceedings, that fact favors

the granting of the application. See Intel, 542 U.S. at 264. Here, neither Lyxor nor Mr. Daniloff

is a party to the foreign proceedings. Accordingly, this factor weighs in favor of granting the

application.




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       B. Receptivity of Foreign Proceedings to U.S. Judicial Assistance

       The Second Circuit has made clear that, in examining the second Intel factor, “a district

court’s inquiry into the discoverability of requested materials should consider only

authoritative proof that a foreign tribunal would reject evidence obtained with the aid of section

1782.” Euromepa S.A. v. R. Esmerian, Inc., 51 F.3d 1095, 1100 (2d Cir. 1995). Authoritative

proof is limited to proof “embodied in a forum country’s judicial, executive or legislative

declarations that specifically address the use of evidence gathered under foreign procedures.”

Id. Here, not only is there no such proof, Ms. Kurbatova has submitted a declaration of a Swiss

law expert demonstrating that any evidence she obtains through the Application will be usable

in any of the five Swiss proceedings, even though the admissibility of evidence in a foreign

proceeding is not required to support an application under Section 1782. Brandi-Dohrn, 673

F.3d at 82 (“[A]s a district court should not consider the discoverability of the evidence in the

foreign proceeding, it should not consider the admissibility of evidence in the foreign

proceeding in ruling on a section 1782 application.”).

       C. Whether the Request Is an Attempt to Circumvent Foreign Proof-Gathering
          Restrictions

       The Application is not an attempt to circumvent foreign proof-gathering restrictions.

Courts typically weigh the third Intel factor against the applicant only where they find that an

application is brought in bad faith, which there is no suggestion of here. See In re Application

of Hill, No. M 19-117 (RJH), 2007 WL 1226141, at *3 (S.D.N.Y. Apr. 23, 2007) (“Absent any

indication of bad faith on [the applicant's] part, the Court is simply unwilling to weigh the

request for § 1782 assistance itself as a negative discretionary factor” (internal quotations

omitted)); In re Application of Gemeinschaftspraxis Dr. Med. Schottdorf; No. Ml9-88 (BSJ),

2006 WL 3844464, at *7 (S.D.N.Y. Dec. 29, 2006). Indeed, it is not an attempt to circumvent

such restrictions even if the discovery sought is unavailable in the foreign jurisdiction or the



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applicant has not first tried to obtain the discovery overseas. See, e.g., In re Mangouras, No.

17-MC-172, 2017 WL 4990655, at *6-7 (S.D.N.Y. Oct. 30, 2017).

       Moreover, should there at any point be questions concerning the admissibility under

Swiss law of the discovery sought by Ms. Kurbatova, those questions are best resolved by the

Swiss court rather than a U.S. district court. As one court has explained, “[s]ince foreign courts

could always rule upon the propriety of reliance on evidence obtained through the cooperation

extended by American courts when it was presented to them, the drafters of section 1782

regarded it as both unnecessary and undesirable to let the propriety of discovery with the aid

of an American court depend on discoverability and admissibility under foreign law.”

Euromepa, 51 F.3d at 1101 (quoting Hans Smit, Recent Developments in International

Litigation, 35 S. Tex. L. Rev. 215, 235–36 (1994)).

       D. Whether Request Is Unduly Burdensome

       The request in this Application is not unduly burdensome. Ms. Kurbatova seeks a

narrow set of documents and two limited depositions. The requests seek information only on

the narrow topic of the Lyxor Product that Mr. Lescaudron bought for Ms. Kurbatova’s account

and the diligence he conducted before taking direct and indirect interests in the Hudson Fund

on her behalf. Once discovery is authorized under Section 1782, the federal discovery rules,

Fed. R. Civ. P. 26-36, contain the relevant practices and procedures for the taking of testimony

and the production of documents. Mees v. Buiter, 793 F.3d 291, 302 (2d Cir. 2015) (“[A]

district court evaluating a § 1782 discovery request should assess whether the discovery sought

is overbroad or unduly burdensome by applying the familiar standards of Rule 26 of the Federal

Rules of Civil Procedure.”). Rule 26 “has been construed broadly to encompass any matter that

bears on, or that reasonably could lead to other matter that could bear on, any issue that is or

may be in the case.” Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978). Under




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the Federal Rules of Civil Procedure, requests to produce can be directed at any document or

thing in the possession, custody, or control of the producing party. Fed. R. Civ. P. 26(b).

                                       CONCLUSION


       WHEREFORE, Applicant Ms. Kurbatova prays for an order of this Court:

   (1) Granting discovery pursuant to Section 1782;

   (2) Authorizing the issuance of the subpoenas attached to the Declaration of Jonathan D.

       Cogan;

   (3) Granting such other and further relief as this Court deems just and proper.



Dated: October 11, 2018                      Respectfully submitted,

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